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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

Shakira Harris,                             )
                                            )
       Plaintiff,                           )       Civil Action File No.:
                                            )
v.                                          )
                                            )
Carter-Young, Inc.,                         )       COMPLAINT WITH
                                            )      JURY TRIAL DEMAND
       Defendant.                           )
                                            )

                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq.

                                       PARTIES

      1.     Plaintiff, Shakira Harris, is a natural person who resides in Gwinnett

County, Georgia.

      2.     Defendant, Carter-Young, Inc., is a corporation formed under the laws

of the State of Georgia and registered to do business in Georgia. Defendant may be




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served with process via its registered agent, Stephen Carter, 882 North Main Street,

Suite 120, Conyers, GA 30012.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

the Defendant maintains a registered agent in Rockdale County which is in the

Atlanta Division.

                            FACTUAL ALLEGATIONS

      7.     Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical visit and is therefore, a “consumer”, as that term is defined by 15 U.S.C. §

1692a(3).

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      8.     Defendant is a collection agency that focuses on the collection of

consumer debt.

      9.     Defendant regularly collects, or attempts to collect, directly or

indirectly, debts owed or due, or asserted to be owed or due, to a third party.

      10.    Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      11.    Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

      12.    Plaintiff was attempting to get her financial affairs in order and

attempted to contact her creditors in order to create a financial plan to get out of debt

and increase her credit score.

      13.    On or about the morning of August 28, 2020, Plaintiff called Defendant

to obtain information about her account.

      14.    During the phone call, Plaintiff advised Defendant that she could not

receive phone calls between 8:30 a.m. and 5:00 p.m. because she was at work and

was not allowed to receive phone calls or she could lose her job.

      15.    Plaintiff did seek to bar the Defendant from calling her at any hour

otherwise permitted by law; for example, between 5:00 p.m. and 9:00 p.m.

      16.    Defendant’s representative acknowledged her request.

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      17.     Yet, Defendant called Plaintiff that very afternoon at 2:49 p.m. while

Plaintiff was at work.

      18.     Defendant’s actions caused Plaintiff anxiety and worry that she would

lose her job for receiving phone calls while she was at work.

      19.     Defendant took time out of her day to seek the advice of counsel

regarding the Defendant’s collection attempts.

                                INJURIES-IN-FACT

      20.     The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

      21.     An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).




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      22.    Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.

      23.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      24.    Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that she was suffered worry and anxiety that she was going to be taken

advantage of by the collection agency attempting to collect payment form her while

she was on medication, and also that she took time to discuss this debt with counsel

in response to the calls.

      25.    Accordingly, through the suffering of actual damages and a violation

of Plaintiffs’ statutorily created rights under the FDCPA, Plaintiffs have suffered an

injury-in-fact sufficient to establish Article III standing

                                     DAMAGES

      26.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;




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       b.)   Uncompensated time expended away from work and/or activities of

daily living, to confer with counsel regarding the Defendant's collection efforts;

and,

       c.)   Anxiety and worry due to concerns that she might be fired for

receiving phone calls while at work.

                              CAUSES OF ACTION

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

       27.   Plaintiff incorporates by reference paragraphs 1 through 26 as though

fully stated herein.

Violations of 15 U.SC. § 1692c and subparts

       28.   A debt collector may not, without the prior consent of the consumer

given directly to the debt collector or the express permission of a court of competent

jurisdiction, communicate with a consumer in connection with the collection of any

debt at any unusual time or place or a time or place known or which should be known

to be inconvenient to the consumer or at the consumer’s place of employment if the

debt collector knows or has reason to know that the consumer’s employer prohibits

the consumer from receiving such communication.




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       29.   Defendant had direct and actual knowledge that the Plaintiff was at

work during the hours which Defendant called Plaintiff.

       30.   Defendant’s call(s) as described herein violated 15 U.S.C. §

1692c(a)(1) and 1692c(a)(3).

Violations of 15 U.SC. § 1692d and subparts

       34.   Defendant’s phone calls to Plaintiff during hours which Defendant

knew Plaintiff could not receive phone calls were intended to harass, abuse,

embarrass, and intimidate the Plaintiff.

       35.   Defendant’s conduct violated 15 U.S.C. § 1692d.

       31.   As a result of Defendant’s violations of the FDCPA, Defendant is liable

to Plaintiffs for actual damages as described herein, statutory damages in the amount

of $1,000.00, costs of this action and reasonable attorney’s fees as determined by the

Court as mandated by 15 U.S.C. § 1692k.

                                     TRIAL BY JURY

       32.   Plaintiff is entitled to and hereby requests a trial by jury.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)    Plaintiff’s actual damages;

b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

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c.)   Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k; and

d.)   Such other and further relief as may be just and proper.

      Respectfully submitted this 16th day of September, 2020.


                                     BERRY & ASSOCIATES
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